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8                              IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                   Respondent,                             No. CR S-99-0051 GEB PAN P

12           vs.

13   JAVIER MORA,

14                   Movant.                                 ORDER

15                                                  /

16                   Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. The claims styled as movant’s first

18   three grounds for relief are not cognizable on this § 2255 motion. See United States v. Cruz, 423

19   F.3d 1119 (9th Cir. 2005) (United States v. Booker,       U.S.   , 125 S.Ct. 738 (2005) “does not

20   apply retroactively to convictions that became final prior to its publication.”) The court therefore

21   intends to recommend denial of these claims. Since movant may be entitled to the requested

22   relief if he can establish the violation of his constitutional rights raised in his fourth claim for

23   relief, alleging ineffective assistance of counsel, respondent is directed to file an answer to that

24   claim within thirty days of the effective date of this order. See Rule 4, Rules Governing Section

25   2255 Proceedings.

26   /////

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1                   Respondent shall include with the answer any and all transcripts or other

2    documents relevant to the determination of the issues presented in movant’s fourth claim for

3    relief. Rule 5, Rules Governing Section 2255 Proceedings. Movant’s traverse, if any, is due on

4    or before thirty days from the date respondent’s answer is filed.

5                   The Clerk of the Court shall serve a copy of this order, together with a copy of

6    movant’s motion, on the United States Attorney or his authorized representative.

7    DATED: March 30, 2006.

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